
The Act of 1824, p. 21, requiring Masters and Commissioners to *290report, annually, to the Court, “what guardians and trustees have not annually made their returns,” and “to set apart certain days for reference of such accounts, &amp;c.,” was intended to protect wards and cestui que trusts whose funds were under the control of the Court, and not to impose duties on the Commissioner, which would be impossible or useless and nugatory; And therefore the Commissioner is not guilty of any neglect of duty in not reporting to the Court, the case of a guardian who had finally settled with his ward, and that fact had been before reported to the Court; or where a guardian was dead, and his death had been previously reported; or where a guardian had removed from the State, and which had been before reported.
